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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

GUY W. GANE, JR.,

                     Petitioner,
       v.                                                    DECISION and ORDER
                                                                10-CR-90S (1)
                                                                14-CV-521S
UNITED STATES OF AMERICA,

                     Respondent.


                                   I. INTRODUCTION

       Before this Court is Petitioner Guy Gane’s Motion to Vacate, Set Aside, or Correct

Sentence under 28 U.S.C. § 2255, as well as the government’s Motion to Dismiss

Petitioner’s petition as untimely. (Docket Nos. 260, 266.) For the reasons that follow, the

government’s motion is granted and the petition is dismissed as untimely.

                                   II. BACKGROUND

       On December 9, 2010, Petitioner pled guilty to mail fraud and money laundering,

in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 1957, respectively. (Docket Nos. 35, 36,

49.) This Court sentenced Petitioner on September 14, 2011, to, inter alia, a term of

imprisonment of 156 months. (Docket No. 134.) The Clerk of Court entered judgment on

September 26, 2011. (Docket No. 138.) Petitioner did not appeal.

       Almost three years later, on June 27, 2014, Petitioner filed a Motion to Vacate, Set

Aside, or Correct Sentence under 28 U.S.C. § 2255. (Docket No. 260.) The government

moved to dismiss the petition on timeliness grounds on September 10, 2014. (Docket No.

266.) Petitioner filed a 2-page affidavit in opposition to the government’s motion on


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September 30, 2014. (Docket No. 269.) This Court took the motion under advisement

without oral argument.

                                      III. DISCUSSION

A.     The Petition

       Twenty-eight U.S.C. § 2255 allows a convicted person held in federal custody to

petition the sentencing court to vacate, set aside, or correct a sentence. Specifically,

“[s]ection 2255 provides that a prisoner sentenced by a federal court may move to have

that sentence vacated, set aside or corrected if he or she claims that the court, in

sentencing him or her, violated the constitution or the laws of the United States, improperly

exercised jurisdiction, or sentenced him or her beyond the maximum time allowed by law.”

Rose v. United States, No. 13-CV-5885, 2013 WL 5303237, at *1 (S.D.N.Y. Sept. 20,

2013) (quoting Thai v. United States, 391 F.3d 491, 493 (2d Cir. 2005)). A prisoner is

entitled to a hearing on a motion filed under section 2255 “[u]nless the motion and the files

and records of the case conclusively show that the prisoner is entitled to no relief.” 28

U.S.C. § 2255 (b); see also Pham v. United States, 317 F.3d 178, 184-85 (2d Cir. 2003).

       The Antiterrorism and Effective Death Penalty Act of 1996 imposes a one-year

limitations period that runs from the latest of:

              (1) the date on which the judgment of conviction
              becomes final;

              (2) the date on which the impediment to making a
              motion created by governmental action in violation of
              the Constitution or laws of the United States is
              removed, if the movant was prevented from making a
              motion by such governmental action;

              (3) the date on which the right asserted was initially


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              recognized by the Supreme Court, if that right has been
              newly recognized by the Supreme Court and made
              retroactively applicable to cases on collateral review; or

              (4) the date on which the facts supporting the claim or
              claims presented could have been discovered through
              the exercise of due diligence.

28 U.S.C. § 2255 (f).

       Under § 2255 (f)(1), a petition must be filed within one year of the date that the

underlying conviction becomes final. When a petitioner fails to file a direct appeal, the

judgment of conviction “becomes final when the time for filing a direct appeal expires.” See

Moshier v. United States, 402 F.3d 116, 118 (2d Cir. 2005); Apotosky v. United States, 09-

Cr-166A, 13-CV-737A, 2016 WL 1584383, at *2 (W.D.N.Y. Mar. 8, 2016) (citing Moshier).

The time for filing a direct appeal expires 14 days after entry of judgment. See Fed. R.

App. P. 4 (b)(1)(A)(i).

       Here, the Clerk of Court entered judgment on September 26, 2011. (Docket No.

138.) Petitioner’s time to file an appeal would normally have expired 14 days later, on

October 10, 2011. See Fed. R. App. P. 4 (b)(1)(A)(i). But because October 10, 2011, was

a federal holiday, Petitioner’s time to file an appeal expired the next day, on October 11,

2011. See Fed. R. App. P. 26 (a)(1)(C). Petitioner did not appeal. Petitioner therefore had

one year from October 11, 2011, within which to file his § 2255 petition. Petitioner filed his

petition on June 27, 2014, which is two years, eight months, and 17 days after October 11,

2011. (Docket No. 260.) The petition is therefore untimely under 28 U.S.C. § 2255 (f)(1).

       Petitioner argues, however, that his motion is timely under 28 U.S.C. § 2255 (f)(4),

because (1) he instructed his attorney to appeal his sentence, (2) he thought that his

attorney did so, and (3) he did not learn that his attorney failed to file an appeal until

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November 2013. (Declaration of Guy W. Gane, Docket No. 269, ¶ 2.) Although Petitioner

terms what he seeks as “equitable tolling,” § 2255 (f)(4) is not a tolling provision; rather, it

starts the one-year limitations period anew, moving it from the date the conviction becomes

final to a later date on which the petitioner’s claim accrued.1 See Wims v. United States,

225 F.3d 186, 190 (2d Cir. 2000). Thus, the court’s task “is to determine when a duly

diligent person in petitioner’s circumstances would have discovered that no appeal had

been filed.” Id. The petitioner would then have one year from that date to file a timely §

2255 petition. See id.

        Here, Petitioner filed his § 2255 petition on June 27, 2014. His petition is therefore

timely only if, with reasonable diligence, he could not have discovered his counsel’s failure

to file an appeal before June 26, 2013, which is one year, eight months, and 16 days after

his appeal was due (on October 11, 2011). In Wims, the Second Circuit found that a five-

month delay was not clearly unreasonable. See Wims, 225 F.3d at 191. But the delay



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          Equitable tolling is a different concept. The one-year limitation period can be equitably tolled in
“rare and exceptional circumstance[s].” See Smith v. McGinnis, 208 F.2d 13, 17 (2d Cir. 2000). “To
equitably toll the one-year limitations period, a petitioner must show that extraordinary circumstances
prevented him from filing his petition on time, and he must have acted with reasonable diligence
throughout the period he seeks to toll.” Hizbullahankhamon v. Walker, 255 F.3d 65, 75 (2d Cir. 2001).
Extraordinary circumstances are judged by “how severe an obstacle it is for the prisoner endeavoring to
comply” with the one-year limitations period, not on the unusualness of the obstacle. Dillon v. Conway,
642 F.3d 358, 363 (2d Cir. 2011). And in judging whether a petitioner has been diligent, the standard is
reasonable diligence, not extreme or exceptional diligence. See Baldayaque v. United States, 338 F.3d
145, 153 (2d Cir. 2003).
         Indeed, the failure of an attorney to file an appeal despite having been instructed to do so qualifies
as the sort of rare and extraordinary circumstance that may warrant equitable tolling. See, e.g., Csanadi
v. United States, Civil No. 3:15CF1459 (JBA), 2016 WL 2588162, at *4 (D. Conn. May 4, 2016) (finding
that an attorney’s failure to file an appeal as directed warranted consideration of equitable tolling); cf.
Baldayaque, 338 F.3d at 150-53 (holding that the petitioner’s attorney’s failure to file a § 2255 petition as
directed constituted a rare and extraordinary circumstance). The question then becomes whether the
petitioner acted as diligently as reasonably possible in determining whether an appeal was filed on his
behalf. See Baldayaque, 338 F.3d at 153.
         Given the lack of diligence in this case, as explained herein, Petitioner is not entitled to equitable
tolling.

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here is more than triple that.

       Petitioner maintains that “when [he] was able to check on the status of [his] appeal”

in November 2013, he learned that no appeal had been filed on his behalf. (Declaration

of Guy W. Gane, ¶ 2.) But Petitioner provides no explanation whatsoever for why he was

only first able to “check on the status of [his] appeal” two years and one month after he

thought it had been filed. Nor does he indicate what efforts, if any, he made to check on

the status of his appeal after October 11, 2011. Petitioner has therefore failed to establish

that he acted with reasonable diligence.         See Tharrington v. Director, Va Dept. of

Corrections, Civil Action No. 3:14CV720, 2015 WL 4606174, at *4 (E.D. Va. July 30, 2015)

(noting that once the petitioner instructed his attorney to file an appeal, “it was incumbent

upon him to demonstrate that he diligently followed up with his attorney regarding the

status of that appeal.”)

       Given these facts, this Court finds that a petitioner acting with reasonable diligence

would have discovered that no appeal had been filed, at the latest, one year after the date

his or her judgment became final. See Gonzalez-Ramos v. United States, No. 05 Civ.

3974, 99 CR. 1112 (LAP), 2007 WL 1288634, at *9 (S.D.N.Y. May 2, 2007) (finding that

a petitioner should discover that no appeal has been filed within one year after the

judgment becomes final); Tharrington, 2015 WL 4606174, at *4 (same). Here, that date

is October 10, 2012. Petitioner’s § 2255 motion would then have been due one year after

that, on October 10, 2013. Thus, Petitioner’s motion, which he filed on June 27, 2014, is

untimely and must be dismissed.

B.     Certificate of Appealability

       For a certificate of appealability to issue, the petitioner must make a “substantial

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showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). To make the

required “substantial showing” the petitioner must establish that “reasonable jurists could

debate whether . . . the petition should have been resolved in a different manner or that

the issues presented were adequate to deserve encouragement to proceed further.” Rhagi

v. Artuz, 309 F.3d 103, 106 (2d Cir. 2002) (per curiam) (citations omitted). Petitioner has

made no such substantial showing of the denial of a constitutional right in this case. A

certificate of appealability will therefore not be issued.

                                     IV. CONCLUSION

       For the reasons stated above, the government’s motion to dismiss Petitioner’s

Motion to Vacate, Set Aside, or Correct his Sentence on timeliness grounds is granted.

If Petitioner wishes to appeal, he must file a Notice of Appeal with the Clerk’s Office, United

States District Court, Western District of New York, within 30 days of the date of judgment

in this action. Requests to proceed on appeal as a poor person, if any, must be filed in

accordance with the requirements of Rule 24 of the Federal Rules of Appellate Procedure.

                                       V. ORDERS

       IT HEREBY IS ORDERED, that the government’s Motion to Dismiss (Docket No.

266) is GRANTED.

       FURTHER, that Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence under

28 U.S.C. § 2255 (Docket No. 260) is DISMISSED as untimely.

       FURTHER, that a Certificate of Appealability under 28 U.S.C. § 2253 is DENIED.

       FURTHER, that it is hereby certified, under 28 U.S.C. § 1915(a)(3), that any appeal

from this judgment would not be taken in good faith and leave to proceed as a poor person

is therefore DENIED. See Coppedge v. United States, 369 U.S. 438, 82 S.Ct. 917, 8

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L.Ed.2d 21 (1962).

         FURTHER, that the Clerk of Court is directed to CLOSE 14-CV-521S.

         SO ORDERED.



Dated:         October 3, 2016
               Buffalo, New York


                                                    /s/William M. Skretny
                                                    WILLIAM M. SKRETNY
                                                   United States District Judge




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